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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                10/19/2020
                                                                       :
CARMELO CABALLERO DE LA CRUZ et al.,                                   :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     20-CV-4643 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
PASTRAMI PRINCE INC. et al.,                                           :     REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. The Initial Pretrial Conference

scheduled for October 29, 2020 at 10:50 a.m. is adjourned pending further order of the Court.

        SO ORDERED.

Dated: October 18, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
